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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Julie A. Su
                                                    Plaintiff,
v.                                                               Case No.: 1:24−cv−03598
                                                                 Honorable Matthew F.
                                                                 Kennelly
Bakery, Confectionery, Tobacco Workers &
Grain Millers Local 1
                                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 12, 2024:


        MINUTE entry before the Honorable Matthew F. Kennelly: The Court has
reviewed the parties' joint status report. The telephonic status hearing set for 9/18/2024 is
vacated and reset to 11/12/2024 at 9:05 a.m. The following call−in number will be used
for the hearing: 650−479−3207, access code 2305−915−8729. A joint status report is to be
filed on 11/5/2024. The status report must include a statement by each side on whether it
intends to file a summary judgment motion, and if so a summary of the anticipated
grounds. (mk)




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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